  Case 6:14-bk-60186                       Doc 93        Filed 03/15/18 Entered 03/15/18 12:14:07                                 Desc Main
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Fill in this information to identify the case:

Debtor 1                      Terry Lynn Smith

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Southern                 District of West Virginia
                                                                           (State)
Case number                   14-60186




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                   Federal National Mortgage
                   Association (“Fannie Mae”), creditor
 Name of creditor: c/o Seterus, Inc.                                                   Court claim no. (if known):                        3

 Last 4 digits of any number you use to                                                Date of payment change:
 identify the debtor’s account:         XXXXXX5397                                     Must be at least 21 days after date                05/01/2018
                                                                                       of this notice

                                                                                       New total payment:                             $ 710.41
                                                                                       Principal, interest, and escrow, if any


Part 1:         Escrow Account Payment Adjustment

1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:


                  Current escrow payment:            $ 227.85                        New escrow payment:               $ 183.00

Part 2:          Mortgage Payment Adjustment

2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
     variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                  attached, explain why:


                  Current interest rate:                                 %           New interest rate:                                   %

                  Current principal and interest payment: $                          New principal and interest payment:          $


Part 3:          Other Payment Change

3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                  Reason for change:
                  Current mortgage payment:          $                               New mortgage payment:             $

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 Debtor 1        Terry Lynn Smith                                                    Case number (if known)   14-60186




Part 4:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor
    ☒ I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



        /s/Johnie R. Muncy                                                         Date      3/15/2018
     Signature




Print:               Johnie R. Muncy                                                Title     Attorney for Creditor
                   First Name                Middle Name     Last Name



Company              Samuel I. White, P.C.


Address              1804 Staples Mill Road Suite 200
                   Number               Street


                     Richmond, VA 23230
                   City                                      State       ZIP Code


Contact phone        (804) 290-4290                                                 Email     jmuncy@siwpc.com




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                                     CERTIFICATE OF SERVICE

        I certify that on March 15, 2018, the foregoing Notice of Payment Change was served via CM/ECF on
Helen M. Morris, Trustee, and Scott G. Stapleton, Counsel for Debtor, at the email addresses registered with the
Court, and that a true copy was mailed via first class mail, postage prepaid, to Terry Lynn Smith, Debtor, 30975
Salser Rd., Racine, OH 45771.

                                                        /s/JOHNIE R. MUNCY
                                                        Johnie R. Muncy, Esquire
                                                        Samuel I. White, P. C.
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